Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 1 of 37




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLORADO

    Civil Case No. 14-cv-03074-CMA-KMT

    JOHANA PAOLA BELTRAN,
    LUSAPHO HLATSHANENI,
    BEAUDETTE DEETLEFS,
    ALEXANDRA IVETTE GONZALEZ,
    JULIANE HARNING,
    NICOLE MAPLEDORAM,
    LAURA MEJIA JIMENEZ,
    SARAH CAROLINA AZUELA RASCON,
    CATHY CARAMELO,
    LINDA ELIZABETH,
    GABRIELA PEREZ REYES,
         and those similarly situated,

         Plaintiffs,
    v.

    INTEREXCHANGE, INC.,
    USAUPAIR, INC.,
    GREATAUPAIR, LLC,
    EXPERT GROUP INTERNATIONAL INC., DBA EXPERT AUPAIR,
    EURAUPAIR INTERCULTURAL CHILD CARE PROGRAMS,
    CULTURAL HOMESTAY INTERNATIONAL,
    CULTURAL CARE, INC. D/B/A CULTURAL CARE AU PAIR,
    AUPAIRCARE INC.,
    AU PAIR INTERNATIONAL, INC.,
    APF GLOBAL EXCHANGE, NFP, DBA AUPAIR FOUNDATION,
    AMERICAN INSTITUTE FOR FOREIGN STUDY DBA AU PAIR IN AMERICA,
    ASSOCIATES IN CULTURAL EXCHANGE DBA GOAUPAIR,
    AMERICAN CULTURAL EXCHANGE, LLC, DBA GOAUPAIR,
    GOAUPAIR OPERATIONS, LLC, DBA GOAUPAIR,
    AGENT AU PAIR,
    A.P.EX. AMERICAN PROFESSIONAL EXCHANGE, LLC DBA PROAUPAIR, and
    20/20 CARE EXCHANGE, INC. DBA THE INTERNATIONAL AU PAIR EXCHANGE,

         Defendants.


            PLAINTIFFS’ MOTION FOR ATTORNEYS’ FEES AND EXPENSES
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 2 of 37




                                                  TABLE OF CONTENTS

    PRELIMINARY STATEMENT ......................................................................................... 1

    BACKGROUND .............................................................................................................. 2

    ARGUMENT .................................................................................................................... 7

             I.        APPLYING THE JOHNSON FACTORS DEMONSTRATES
                       THAT 35% IS APPROPRIATE UNDER THE PERCENTAGE
                       OF THE FUND APPROACH. ..................................................................... 7

                       A.        The Settlement’s True Economic Value Far Exceeds
                                 the Common Fund. ......................................................................... 7

                       B.        Time and labor required. ................................................................. 8

                       C.        The requisite skill and the difficulty of the questions
                                 presented. ..................................................................................... 10

                       D.        Preclusion of other employment and time limitations. ................... 11

                       E.        The customary fee and fees awarded in similar cases.................. 12

                       F.        The contingency nature and “undesirability” of the
                                 case. ............................................................................................. 13

                       G.        Potential damages involved and the results obtained. .................. 14

                       H.        The experience, reputation, and abilities of Class
                                 Counsel. ........................................................................................ 15

                       I.        Nature and length of the professional relationship with
                                 the client. ....................................................................................... 16

             II.       PLAINTIFFS’ EXPENSES ARE REASONABLE AND WERE
                       NECESSARILY INCURRED IN THE PROSECUTION OF
                       THIS ACTION. ......................................................................................... 16

             III.      A LODESTAR CROSS-CHECK CONFIRMS THE
                       REQUEST IS REASONABLE. ................................................................. 18

                       A.        Class Counsel’s hours and rates are reasonable. ......................... 19

                       B.        The multiplier is reasonable (and, in fact,
                                 conservative). ................................................................................ 20

    CONCLUSION .............................................................................................................. 20



                                                                    i
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 3 of 37




                                              TABLE OF AUTHORITIES

    Cases

    Anderson v. Merit Energy Co.
      2008 WL 3378526 (D. Colo. Oct. 20, 2009)................................................................. 6

    Barbosa v. Nat’l Beef Packing Co., LLC
      No. 12-2311, 2015 WL 4920292 (D. Kan. Aug. 18, 2015) ......................................... 17

    Bee v. Greaves
      910 F.2d 686 (10th Cir. 1990).................................................................................... 18

    Brown v. Phillip Petroleum Co.
      838 F.2d 451 (10th Cir. 1988)................................................................................ 6, 14

    Centennial Archaeology, Inc. v. AECOM, Inc.
      688 F.3d 673 (10th Cir. 2012).................................................................................... 20

    City of Almaty v. Ablyazov
      15-CV-05345 (S.D.N.Y. Apr. 30, 2018)...................................................................... 20

    CompSource Oklahoma v. BNY Mellon, N.A.
      No. 08-cv-469, 2012 WL 6864701 (E.D. Okla. Oct. 25, 2012) ................................... 19

    Cultural Care, Inc. v. Massachusetts
      2017 WL 327011 (D. Mass. Aug. 1, 2017)................................................................... 9

    Davis v. Crilly
      292 F. Supp. 3d 1167 (D. Colo. 2018) ......................................................................... 5

    Farrar v. Hobby
      506 U.S. 103 (1992) .................................................................................................... 6

    Gottlieb v. Barry
     43 F.3d 474 (10th Cir. 1994).................................................................................... 5, 6

    Gudenkauf v. Stauffer Commc’ns, Inc.
     158 F.3d 1074 (10th Cir. 1998).................................................................................... 7

    In re Crocs, Inc. Securities Litigation
       2014 WL 4670886 (D. Colo. Sept. 18, 2014) ................................................... 8, 11, 21

    In re High Tech Employee Antitrust Litig.
       2015 WL 5159441 (N.D. Cal. Sept. 2, 2015) ............................................................. 15

    In re Miniscribe Corp.
       309 F.3d 1234 (10th Cir. 2002).................................................................................. 21



                                                                 ii
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 4 of 37




    In re Polyurethane Foam Antitrust Litig.
       135 F. Supp. 3d 679 (N.D. Ohio 2015) ...................................................................... 20

    In re Qwest Commc’ns Int’l, Inc. Secs. Litig.
       625 F.Supp.2d 1143 (D. Colo. 2009) ................................................................... 11, 14

    In re Syngenta AG MIR 162 Corn Litig.
       2018 WL 6839380 (D. Kan. Dec. 31, 2018) ......................................................... 13, 16

    Johnson v. Georgia Highway Express, Inc.
      488 F.2d 714 (5th Cir.1974)............................................................................... 6, 7, 12

    Kosnitzky v. FDIC
      2013 WL 12246258 (S.D. Fla. June 24, 2013) .......................................................... 20

    Lane v. Page
      862 F. Supp. 2d 1182 (D.N.M. 2012) ......................................................................... 11

    Lucas v. Kmart
      2006 WL 2729260 (D. Colo. 2006) .................................................................. 6, 19, 20

    Lucken Family Partnership LLP v. Ultra Resources, Inc.
      2010 WL 5387559 (D. Colo. Dec. 22, 2010) ........................................................ 12, 14

    Mishkin v. Zynex, Inc.
      2012 WL 4069295 (D. Colo. Sep. 14, 2012) .............................................................. 21

    O’Bannon v. NCAA
      114 F. Supp. 3d 819 (N.D. Cal. 2015) ....................................................................... 20

    Robinson v. City of Edmund
      160 F.3d 1275 (10th Cir. 1998).................................................................................... 6

    Shaw v. Interthinx, Inc.
      2015 WL 1867861 (D.Colo. 2015) ...................................................................... passim

    Tennille v. W. Union Co.
      No. 09-CV-00938-JLK-KMT, 2014 WL 5394624 (D. Colo. Oct. 15, 2014) ....... 7, 13, 19

    Turner Broad. Sys., Inc. v. F.C.C.
      520 U.S. 180 (1997) .................................................................................................. 17

    Uselton v. Commercial Lovelace Motor Freight, Inc.
      9 F.3d 849 (10th Cir. 1993).................................................................................... 6, 19

    Vaszlavik v. Storage Technology Corp.
      2000 WL 1268824 (D. Colo. March 9, 2000) ................................................. 12, 13, 17




                                                                iii
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 5 of 37




    Whittington v. Taco Bell of America, Inc.
     2013 WL 6022972 (D. Colo. Nov 13, 2013) ............................................................... 12

    Statutes & Rules

    29 U.S.C. § 203 ...................................................................................................... passim

    D.Colo. L. Civ. R. 54.3..................................................................................................... 4

    Fed. R. Civ. P. 23 ............................................................................................ 2, 9, 10, 18

    Fed. R. Civ. P. 54 .......................................................................................................... 17

    Other Authorities

    Hon. J.S. Rakoff & H.W. Goldstein
      RICO Civil and Criminal Law and Strategy
      § 1.01......................................................................................................................... 11

    https://j1visa.state.gov/basics/facts-and-figures/ ............................................................. 8

    P.E. Areeda & H. Hovenkamp
      Antitrust Law at Preface
      (4th ed. 2013) ............................................................................................................ 11

    Seyfarth Shaw
      15th Annual Workplace Class Action Litigation Report
      January 2019
      https://www.seyfarth.com/dir_docs/publications/2019_WCAR_Chapters_1-2.pdf ....... 5




                                                                    iv
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 6 of 37




                     Certificate of Conferral Pursuant to D.C.Colo.LCivR 7.1(A)

           Defendants take no position on Class Counsel’s requested fees and expenses.

                                   PRELIMINARY STATEMENT

           After litigating this case for nearly five years, Class Counsel secured a historic

    recovery. The total monetary value of the settlement—$65.5 million—constitutes the

    largest class action employment settlement in 2018. As further elaborated in the

    simultaneous motion for final approval, the majority of Class members who made claims

    will receive payment of approximately 50% of the actual damages figures that Plaintiffs’

    expert would present at trial, even after Class Counsel’s requested fees and expenses

    are deducted. The settlement also provides injunctive relief worth millions more by

    ensuring that current and future au pairs understand their rights.

           As the Court is well aware, this victory did not come either quickly or easily.

    Settlement was achieved only after years of litigation and extensive motion practice –

    virtually all of which was decided favorably to the Plaintiffs – as well as exhaustive

    discovery, including 143 depositions and the exchange and review of hundreds of

    thousands of pages of documents. In total, Class Counsel devoted more than 19,000

    hours to this case—with most of that time necessary to respond to Defendants’ strategic

    choices. It was not until the proverbial eve of trial, when the Defendants faced what

    Class Counsel believe was the probability—based upon the record developed by

    Plaintiffs—of a substantial judgment, that the settlement was possible.

           Under these circumstances, it is appropriate for the Court to award 35 percent of

    the common fund in fees ($22,925,000) and Class Counsel’s litigation costs and

    nontaxable expenses ($3,345,535.33), or $26,270,535.33 in total. The requested award

    is modest compared with decisions in this District in both percentage and absolute-dollar


                                                  1
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 7 of 37




    terms. A lodestar cross check confirms the award would have a multiplier of less than

    2.1x the common fund (which excludes the value of injunctive relief). That multiplier is

    conservative relative to comparable cases in this district, and in line with multipliers

    awarded in less complex cases with significantly smaller common funds. Furthermore,

    the lodestar calculation is based on rates discounted from Class Counsel’s standard

    rates and considers only hours actually billed through May 15, 2019.

           Class Counsel’s request is reasonable in light of this case’s complex nature and

    Tenth Circuit law regarding attorneys’ fees in class cases that are designed to ensure

    that class counsel have proper incentives to take on difficult cases and pursue class

    members’ best interests. Class Counsel assumed significant risks and devoted

    extensive resources in pursuing a recovery for the Class—and did so efficiently and

    effectively. Class Counsel should be properly rewarded for those efforts.

           Under the law and practice of this jurisdiction, as well as the retainer agreements

    of the named Plaintiffs, costs and nontaxable expenses (hereafter “expenses” unless

    otherwise specified) should be added to the percentage fee award. Class Counsel’s

    known expenses to date are $3,264,535.33, and Class Counsel anticipates at least

    $81,000 in expenses in administering the disbursement phases.

           For these reasons and those that follow, Class Counsel respectfully request a

    total of $26,270,535.33 in fees, costs, and nontaxable expenses pursuant to Federal

    Rules 23 (h) & 54(d), Local Civil Rule 54.3, and this Court’s discretion under Rule 23 and

    in equity. In addition, $536 should be taxed in favor of the United States to reimburse for

    the original named Plaintiff’s in forma pauperis filing and service.

                                          BACKGROUND

           In November 2014 the first named Plaintiff, Ms. Beltran, approached Towards


                                                  2
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 8 of 37




    Justice, a nonprofit law firm that (among other things) represents low-wage workers.

    Hood Decl. ¶¶ 5-7. Towards Justice began researching and soon came to appreciate

    the significance of Ms. Beltran’s claims. Id. ¶¶ 7-9. Towards Justice moved swiftly, filing

    this case at the end of the same month. Id. ¶ 10.

           Towards Justice recognized even before filing this case that it required the

    resources of a national law firm. Hood Decl. ¶¶ 9, 11-12. But Towards Justice had

    significant difficulty finding a firm to take on the case. Id. ¶ 12. It was clear that

    Defendants were prepared to litigate for years, and many large firms had conflicts that

    could not be overcome. Id. For example, Towards Justice initially retained a private law

    firm on an hourly basis to assist with developing the complaint. That firm, however, was

    unwilling to devote the resources necessary to litigate this case to judgment, and was

    also unwilling to serve as counsel of record for a labor-side plaintiff’s class because of

    the unfortunate reality that – as with many law firms with the requisite subject matter

    expertise here – its defense-side clients would be offended by the “positional conflict.”

    Id. ¶ 13. After running into similar roadblocks with other large firms, and also being

    passed-over by several firms specializing in plaintiff’s class action lawsuits (largely

    because those firms perceived, correctly, that litigating this case would require an

    enormous investment of both dollars and human resources), Towards Justice was

    referred to a Boies Schiller Flexner LLP (“BSF”) partner who had previously worked with

    that partner when they were both Assistant United States Attorneys in the United States

    Attorney’s Office for the Southern District of New York . Id. ¶¶ 13-17.

           Founded in 1997, BSF has more than 300 lawyers located in 15 offices across the

    United States and in London. BSF has established a record of taking on and winning

    complex, groundbreaking, and cross-border matters in diverse circumstances and


                                                   3
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 9 of 37




    industries for many of the world's most sophisticated companies. Notably, BSF regularly

    represents its clients as both plaintiffs and defendants, believing that experience working

    on both sides contributes to its ability to successfully represent those clients. BSF also

    regularly takes cases to trial, and litigates accordingly from the start.

           After conducting due diligence, including speaking with and securing the consent

    of each of the named plaintiffs, BSF agreed to take over primary responsibility for the

    prosecution of this case and assembled a team of lawyers with the necessary expertise

    and experience. BSF agreed to both take the case purely on contingency and to

    advance all the costs of litigation, without any external funding, with Towards Justice

    continuing as co-counsel and retaining a fractional interest in any fee award.

           The joint BSF-Towards Justice team includes trial lawyers who had successfully

    prosecuted criminal RICO cases before entering private practice and who have

    successfully pursued civil RICO cases since; attorneys who litigated some of the most

    significant antitrust cases in recent years; and lawyers with experience representing

    plaintiffs in class and collective action employment cases. Appendix A contains the

    attorney qualifications, an explanation of their work on the case, the hourly rate and

    amount of time billed by each attorney, together with the other information identified in

    Local Rule 54.3. 1


    1
      Appendix A provides all information identified in Local Rule 54.3, but the “detailed”
    description of each timekeeper’s services do not include time card narratives. In light of
    the length and size of this case, reviewing and redacting time card narratives for attorney
    client communications, attorney work product materials, mediation privilege, and any
    other applicable privilege is a great undertaking. Class Counsel do not interpret the
    Local Rule to require extensive detail in this case because Class Counsel request a
    percentage award with a lodestar cross check – and are not “claim[ing]” fees “for”
    particular persons. D.Colo.LCivR 54.3(b). If Class Counsel are incorrect, or if the Court
    prefers that the record include time card narratives for any other reason, Class Counsel
    are prepared to review and file redacted time cards promptly.


                                                   4
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 10 of
                                      37



          After Court denial of summary judgment, the eleven named Plaintiffs —

   representing approximately 160,000 current or former au pairs — were prepared to take

   the au pair industry to trial beginning February 25, 2019. See ECF Nos. 558 at 29-30,

   1124. In October 2018, as the parties were finishing up their proposed jury instructions,

   this case was referred to the Honorable Michael E. Hegarty, U.S. Magistrate Judge, for a

   final attempt at settlement. ECF No. 1138. The mediation discussions opened with a

   marathon day of about 13 hours of in-person meetings. Skinner Decl. ¶ 8. It then took

   two more months for the parties to reach an agreement in principle, and longer to agree

   to the final terms. Id. ¶ 9. Getting agreement from 15 different Defendants and consent

   from all 11 named Plaintiffs was no mean feat. See id. ¶¶ 10-14.

          The resulting settlement is the largest employment class action settlement in 2018

   ($65.5 million) 2 and provides injunctive relief to protect current and future au pairs.

                                       LEGAL STANDARD

          The Tenth Circuit has approved two methods for awarding attorneys' fees in

   common fund cases—the “percentage of the fund” and the “lodestar plus multiplier”

   methods. Gottlieb v. Barry, 43 F.3d 474, 482-83 (10th Cir. 1994). “[E]ither method is

   permissible,” although the Tenth Circuit has expressed “a preference for the percentage

   of the fund method.” Gottlieb, 43 F.3d at 483 (class action); see also Davis v. Crilly, 292

   F. Supp. 3d 1167, 1173-74 (D. Colo 2018) (Arguello, J.) (citing Gottlieb and concluding

   that the percentage of fund approach is “standard” when reviewing FLSA settlements).

          Under the “percentage of the fund” method, the fee award is based on a


   2
     The settlement is larger than any other class action employment law settlement
   reported in Seyfarth Shaw’s 15th Annual Workplace Class Action Litigation Report,
   which was published before the Final Settlement’s terms were public, in January 2019.
   https://www.seyfarth.com/dir_docs/publications/2019_WCAR_Chapters_1-2.pdf


                                                 5
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 11 of
                                      37



   percentage of the total economic benefit obtained for the class the class. See, e.g.,

   Anderson v. Merit Energy Co., 2008 WL 3378526 at *3 (D. Colo. Oct. 20, 2009) (citing

   Brown v. Phillip Petroleum Co., 838 F.2d 451, 454 (10th Cir. 1988)). Alternatively, under

   the lodestar method, class counsel’s reasonable hours are first multiplied by a

   reasonable hourly rate. See, e.g., Robinson v. City of Edmund, 160 F.3d 1275, 1281

   (10th Cir. 1998). The lodestar is then increased by a multiplier to account for risk and

   other factors. See, e.g., Lucas v. Kmart, 2006 WL 2729260, at *3 (D. Colo. 2006).

          No matter the method, these factors (the “Johnson factors”) guide the Court’s

   discretion: (1) the time and labor required; (2) the novelty and difficulty of the question

   presented by the case; (3) the skill requisite to perform the legal service properly; (4) the

   preclusion of other employment by the attorneys due to acceptance of the case; (5) the

   customary fee; (6) whether the fee is fixed or contingent; (7) any time limitations imposed

   by the client or the circumstances; (8) the amount involved and the results obtained; (9)

   the experience, reputation and ability of the attorneys; (10) the “undesirability” of the

   case (i.e., whether this was a case for which it was difficult to obtain qualified counsel);

   (11) the nature and length of the professional relationship with the client; and (12)

   awards in similar cases. Gottlieb, 43 F.3d at 482 n.4 (class action; citing Johnson v.

   Georgia Highway Express, Inc., 488 F.2d 714, 717–19 (5th Cir.1974)); Davis, 292 F.

   Supp. 3d at 1173-74 (same for FLSA settlements).

          Not all factors are equal. The “most critical factor is the degree of success

   obtained.” Farrar v. Hobby, 506 U.S. 103, 114 (1992) (quoting precedent). Further,

   rarely are “all the factors applicable,” Uselton v. Commercial Lovelace Motor Freight,

   Inc., 9 F.3d 849, 854 (10th Cir. 1993), so “not all of them need be considered” in every

   case. Gudenkauf v. Stauffer Commc’ns, Inc., 158 F.3d 1074, 1083 (10th Cir. 1998).


                                                 6
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 12 of
                                      37



                                          ARGUMENT

   I.     APPLYING THE JOHNSON FACTORS DEMONSTRATES THAT 35% IS
          APPROPRIATE UNDER THE PERCENTAGE OF THE FUND APPROACH.

          A.     The Settlement’s True Economic Value Far Exceeds the Common
                 Fund.

          For ease of calculation, Class Counsel’s request in this application is for a fee

   award equal to 35% of the common fund alone. But when the value of the injunctive

   relief is considered, as the case law teaches it must be, the requested fee award

   becomes an even smaller percentage of the total recovery in this case, making clear just

   how conservative Class Counsel’s request is.

          The first step is to properly value the settlement. Tennille v. W. Union Co., No.

   09-CV-00938-JLK-KMT, 2014 WL 5394624, at *3-4 (D. Colo. Oct. 15, 2014) (Kane, J.).

   Although the common fund is the most important indicator of the settlement’s value, it “is

   but one aspect of the settlement and therefore understates the real and actual value

   realized.” Tennille, 2014 WL 5394624 at *4. The economic value of the injunctive relief

   should also be considered. Id. Injunctive relief can be highly valuable, as illustrated in

   Tennille, where the class received $19 million in actual payments, but the settlement as

   a whole was valued at $180 million (and the fee award was $54 million). Id. at 1, 4.

          Here, Class Counsel secured not only a $65.5 million common fund, but also

   injunctive relief of considerable economic benefit to the class and prospective au pairs.

   For example, some of Plaintiffs’ core allegations in this lawsuit was that the Defendants

   misled au pairs and host families alike about their ability to vary from that set wage. ECF

   No. 983 ¶¶ 136-43. As part of the settlement, the Defendants have agreed to several

   measures that will ensure au pairs and host families alike understand that au pair wages

   may be freely negotiated, and that – contrary to the Defendants’ statements prior to and


                                                7
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 13 of
                                      37



   at times during this lawsuit – au pair wages are not fixed by the government at $4.35 per

   hour. For example, the Defendants agree to communicate to new host families that au

   pairs and host families are free to agree to wages higher than the minimum wage; to

   communicate the same to prospective au pairs in their home countries and native

   languages, before they travel to the United States and their bargaining power is

   diminished; and to include similar language on their websites, in au pair contracts, and in

   marketing materials. Rodriguez Decl. Ex. 1 at ¶ IV.B.

          There can be no doubt that this prospective relief is real, vindicates the Class’s

   interests in this lawsuit by ensuring fairness in au pair pay, and has substantial economic

   benefit to the Class (and to future au pairs). Although valuing the injunctive relief is

   difficult, this benefit is worth at least tens of millions of additional dollars. For example, if

   the injunctive relief increases au pair wages by only a dime, the benefit to au pairs would

   amount to about $5 million each year. 3

          For all of these reasons, while it may be easiest to appreciate the value of the

   common fund, the true economic value of the settlement far exceeds $65.5 million.

          B.     Time and labor required.

          The “complexity of the legal issues involved . . . justifies the time spent” by Class

   Counsel. In re Crocs, Inc. Securities Litigation, 2014 WL 4670886, at *2 (D. Colo. Sept.

   18, 2014). This case has been intensively litigated for nearly five years. Class Counsel

   logged 19,474.3 hours over 54 months, including 9,339.2 hours for partners and counsel,

   5,427.2 hours for associates, and 4,069 hours for paralegals and staff. Appendix A.

          The litigation spawned over 1,200 docket entries, including motions to dismiss


   3
    10¢ per hour * 45 hours per week * 50 weeks per year * approximately 20,000 au pairs
   each year. See https://j1visa.state.gov/basics/facts-and-figures/


                                                   8
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 14 of
                                      37



   and to compel arbitration (ECF Nos. 258, 705); FLSA conditional certification and

   decertification (ECF Nos. 569, 1066, 1069, 1070, 1072, 1077); Rule 23 class certification

   (ECF No. 828); motions to exclude expert and lay testimony (ECF Nos. 955, 1079);

   summary judgment motions (ECF No. 1102); numerous motions for reconsideration

   (ECF Nos. 411, 728, 858, 1126, 1130); many motions to compel the production of

   discovery (ECF Nos. 344, 506, 624, 969, 1061); and appeals to the Tenth Circuit at two

   points in the case (ECF Nos. 723, 1041). Meanwhile, the parties engaged in a massive

   discovery effort, exchanging hundreds of thousands of pages of documents, conducting

   143 depositions (several in foreign countries), and subpoenaing records and depositions

   from third parties. See Skinner Decl. ¶ 5; ECF No. 905. 4

          Not only was Class Counsel’s effort in this case by extensive, it was necessary.

   The fifteen Defendants filed repeated motions directed at the same legal issues (see,

   e.g., ECF No. 1126 (order of the Court, reciting Defendants’ numerous challenges to

   Plaintiffs’ employment law claims on preemption grounds)). Among other things, the

   Defendants demanded discovery from a substantial number of opt-in Plaintiffs, requiring

   dozens upon dozens of additional depositions of au pairs that had to be prepared by

   Class Counsel. See ECF Nos. 953-54 & 969. At every turn, Class Counsel tried to
   4
     In addition, one of the Defendants filed a declaratory judgment action in Massachusetts
   in an attempt to litigate some of the preemption issues presented in this case in that
   defendant’s home jurisdiction; in doing so, that defendant directly attacked this Court’s
   rulings. Compare, e.g., ECF No. 1126 (dismissing preemption defense and reviewing
   prior consistent orders) with Cultural Care, Inc. v. Massachusetts, 2017 WL 327011, at
   *4 (D. Mass. Aug. 1, 2017) (discussing Cultural Care’s preemption argument). Class
   Counsel monitored that case, in which the District Court’s decision accorded with this
   Court’s rulings. When the defendant appealed, however, the First Circuit called for the
   view of the federal government. At that point, Class Counsel was forced to become
   involved, seeking and obtaining leave to file an amicus brief to protect the Class’s
   interests, in addition to other efforts to ensure that the relevant actors fully appreciated
   the potential ramifications for the Class, such as advocating before the Solicitor
   General’s Office.


                                                9
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 15 of
                                      37



   respond appropriately but efficiently, for example by defending those opt-in depositions

   principally via Skype so as not to incur needless travel expenses. Rodriguez Decl. ¶ 9.

   Moreover, Class Counsel prevailed in virtually every facet of virtually every disputed

   motion throughout the nearly five-year history of this case, from the Defendants’ initial

   motion to dismiss through their motion for reconsideration of summary judgment.

          In the end, Class Counsel represent 29 certified FLSA and Rule 23 classes and

   subclasses asserting dozens of federal and state claims. See ECF Nos. 569, 828.

   Before the eve-of-trial settlement, Plaintiffs were prepared to try the case against fifteen

   defendants. Such preparation required a great deal of work, and Class Counsel was

   only able to achieve the settlement that they did by virtue of having done that work.

          C.     The requisite skill and the difficulty of the questions presented.

          Much of Class Counsel’s time and labor were dedicated to difficult questions.

   This case raised numerous legal issues of regulatory law, state and federal employment

   law, antitrust, RICO, and state common law. See ECF No. 983 (Third Am. Compl.).

   Many issues were difficult and Defendants sought reconsideration of several orders.

   (ECF Nos. 411, 728, 858, 1126, 1130.)

          That is not surprising because this case involves some of the most specialized

   and difficult areas of the law. For example, employment law issues such as those

   litigated here “are governed by highly technical state and federal wage statutes and

   regulations.” Shaw v. Interthinx, Inc., 2015 WL 1867861, at *6 (D.Colo. 2015). The

   RICO “statute remains difficult to apply” because it uses specialized terms and concepts,

   and its body of case law reflects an “underlying tension” in views about RICO’s

   application. See Hon. J.S. Rakoff & H.W. Goldstein, RICO Civil and Criminal Law and

   Strategy § 1.01. As for antitrust, the “statutes are extremely broad in scope and


                                                10
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 16 of
                                      37



   application but elusive in their meaning.” P.E. Areeda & H. Hovenkamp, Antitrust Law at

   Preface, p. xix (4th ed. 2013). Antitrust involves economic as well as legal principles,

   with the unfortunate result that it is easy for “lawyers and even economists [to] misuse or

   misunderstand the relevant economic concepts.” Id.

          The record here confirms that this case required skilled counsel and implicated

   difficult and hotly-contested questions, which were litigated aggressively by numerous

   well-financed defendants. See ECF Docket; Background Section, above. The related

   appellate advocacy required an additional four briefs and one oral argument from Class

   Counsel. 10th Cir. Docket Nos. 17-1359, 18-702, 18-703, & 18-704; 1st Circuit Docket

   No. 17-2140 at Entry ID 6205558; see also footnote 4, above.

          D.     Preclusion of other employment and time limitations.

          “There is an inherent preclusion of other work in litigating a complex case . . . on a

   contingency fee basis.” Shaw, 2015 WL 1867861, at *6; In re Crocs, 2014 WL 4670886,

   at *3 (“Although Plaintiffs' Counsel does not provide specific examples of work they were

   forced to decline during the pendency of this action, common sense indicates that the

   nearly 3,900 hours spent litigating this case came at the expense of time that could have

   been devoted to other matters.”). Accordingly this factor is less significant in complex,

   multiyear litigation. See In re Qwest Commc’ns Int’l, Inc. Secs. Litig., 625 F.Supp.2d

   1143, 1150 (D. Colo. 2009); Lane v. Page, 862 F. Supp. 2d 1182, 1254 (D.N.M. 2012).

          Both BSF and Towards Justice’s services are in high demand, every hour spent

   on this case was an hour not spent serving another worker or representing a client that

   pays by the hour. And by taking this case on contingency, BSF traded the stability and

   predictability of hourly clients – and the prospect of repeat business from those clients –

   for the possibility of payment years in the future, and after making substantial out-of-


                                                11
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 17 of
                                      37



   pocket outlays, to boot. See Whittington v. Taco Bell of America, Inc., 2013 WL 6022972

   at *6 (D. Colo. Nov 13, 2013). There was always the possibility of zero recovery. See id.

          Similarly, another Johnson factor is whether the case’s circumstances required a

   fast response because a lawyer’s time comes at “a premium” and necessarily defers

   work for other clients. Shaw, 2015 WL 1867861, at *7. As this Court knows, the

   complexity and pace of this case required numerous expedited motions and document

   productions (among other things). E.g., ECF Nos. 593, 626, 644, 676, 839, 1061, 1062.

          E.     The customary fee and fees awarded in similar cases.

          “The customary fee awarded to class counsel in a common fund settlement is

   approximately one third of the total economic benefit bestowed on the class.” Lucken

   Family Partnership LLP v. Ultra Resources, Inc., 2010 WL 5387559 at *6 (D. Colo. Dec.

   22, 2010); see also Vaszlavik v. Storage Technology Corp., 2000 WL 1268824 at *4 (D.

   Colo. March 9, 2000). Class Counsel’s customary hourly rates are discussed with the

   lodestar cross check, Argument III, below.

          Class Counsel’s requested percentage of the common fund is well within the

   customary fee for complex contingency litigation in the Tenth Circuit, and highly

   conservative when the value of the injunctive relief is considered. In fact, Class

   Counsel’s request for 35% of the common fund in fees and recovery of expenses is

   lower than percentages commonly awarded in this District. 5


   5
     See, e.g., Davis v. Crilly, 292 F. Supp. 3d 1167, 1174 (D. Colo. 2018) (approving 37%
   in fees and expenses which was “well within the normal range for a contingent fee
   award”); Whittington v. Taco Bell of Am., Inc., 2013 WL 6022972, at *6 (D. Colo. Nov. 13,
   2013) (awarding 39% of settlement fund for attorneys’ fees); Vaszlavik v. Storage
   Technology Corp., No. 95-B-2525, 2000 WL 1268824, at *4 (D. Colo. Mar. 9, 2000) (the
   requested fee was “in the middle of the ordinary 20%–50% range and is presumptively
   reasonable”); Cimarron Pipeline Constr., Inc. v. Nat'l Council on Compensation Ins., Nos.
   CIV 89–822–T & CIV–1186–T, 1993 WL 355466 (W.D. Okla. June 8, 1993) (“Fees in the


                                                12
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 18 of
                                      37



          The requested award of $22,925,000 in fees is equally reasonable and consistent

   with the cases when viewed in absolute dollar terms. See, e.g., In re Syngenta AG MIR

   162 Corn Litig., 2018 WL 6839380, at *1 (D. Kan. Dec. 31, 2018) (awarding “total

   attorney fees in the amount of one third of the settlement fund, or $503,333,333.33”);

   Tennille, 2014 WL 5394624, at *4 (awarding $54,000,000 on a $180 million settlement,

   as discussed in Section I.A, above).

          F.     The contingency nature and “undesirability” of the case.

          BSF and Towards Justice accepted this case on a pure contingency basis. As

   discussed, BSF attorneys spent 14,885.5 hours on this case, at a cost of $9,895,059.

   Towards Justice attorneys spent an additional 519.8 hours, at a cost of $233,910.

   Appendix A. In addition, BSF incurred over $3.25 million in out-of-pocket expenses, all

   with the risk of recovering nothing, barring a settlement or collectable judgment. Id.

   Absent BSF’s willingness to take these risks, it is virtually certain that no individual au

   pair acting alone, or even with Towards Justice, could have pursued such a complex and

   difficult case. See Hood Decl. ¶¶ 9, 11.

          Substantial fee awards are appropriate in cases such as this, where Class

   Counsel must “advance large amounts of time, money, and other resources to determine

   if any recovery might be had”—something “[m]ost attorneys” cannot do. Shaw, 2015 WL

   1867861, at *7. Accordingly, “[a] contingent fee, and the potential for a relatively high

   fee, is designed to reward counsel for taking the risk of prosecuting a case without

   payment during the litigation, and the risk that the litigation may be unsuccessful.” In re

   range of 30–40% of any amount recovered are common in complex and other cases
   taken on a contingent fee basis.”); Chieftain Royalty Co. v. Laredo Petroleum, Inc., 2015
   WL 2254606, at *3 (W.D. Okla. May 13, 2015) (“An award of forty percent (40%) of the
   settlement value is well within the range of acceptable fee awards in common fund
   cases”), vacated on other grounds, 888 F.3d 455 (10th Cir. 2017).


                                                 13
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 19 of
                                      37



   Qwest, 625 F.Supp.2d at 1151.

          And without the potential for such an award, there is a risk that cases like this one,

   with transient plaintiffs who work in low-wage positions, would never see the inside of a

   court room. See Shaw, 2015 WL 1867861, at *7 (“contingency fees provide access to

   counsel for individuals who would otherwise have difficulty obtaining representation . . .

   and transfer a significant portion of the risk of loss to the attorneys taking a case . . . .

   Access to the courts would be difficult to achieve without compensating attorneys for that

   risk.”) (citations and quotation marks omitted).

          G.     Potential damages involved and the results obtained.

          “[T]he most critical factor in determining the reasonableness of a fee award is the

   degree of success obtained.” Lucken Family, 2010 WL 5387559, at *3; see also Brown,

   838 F.2d at 456 (“[T]he amount involved and the results obtained may be given greater

   weight when . . . the recovery was highly contingent and the efforts of counsel were

   instrumental in realizing recovery on behalf of the class.”).

          Here, the settlement achieved by Class Counsel is a resounding success under

   any metric. In absolute dollar terms, it was the largest employment law settlement of last

   year. See n.2, above. In terms of available dollars, the settlement is at the limits of the

   Defendants’ ability to pay. And even when compared to the amount of a possible

   judgment – putting aside the difficulty, if not impossibility, of actually collecting such a

   judgment – Class Counsel obtained a common fund settlement equal to at least 8% of

   pre-trebled damages ($65.5M out of $800M, see ECF No. 943-1 (Merits Report of Wm.

   O. Kerr) ¶ 132, which is in line with antitrust wage suppression cases that had much




                                                  14
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 20 of
                                      37



   deeper-pocketed defendants. 6 For example, In re High Tech Employee Antitrust Litig.,

   2015 WL 5159441, at *4 (N.D. Cal. Sept. 2, 2015), where plaintiffs alleged an antitrust

   conspiracy to suppress their wages among and between tech companies like Apple,

   Google and Oracle, settled for 14% of pre-trebled antitrust damages. Of course, the au

   pair agency Defendants are not billion-dollar tech companies like Apple and Google.

         In this case, the settlement in terms of actual dollars recovered is potentially better

   than could be achieved at trial. A successful verdict would have faced significant

   enforcement costs and risks, potentially driving some Defendants into bankruptcy and

   requiring complex international litigation to pursue the resources of other Defendants’

   related companies under alter ego or similar theories. In addition, extensive financial

   discovery (see, ECF Nos. 624, 858) indicates that a verdict larger than the settlement

   may well have been beyond Defendants’ ability to pay. See Decl. of Peter M. Skinner in

   Supp. Of Pls.’ Mots. for Final Approval of Class and Collective Action Settlement and For

   Fees ¶ 11. Given these factors, the settlement is a fair percentage of the possible

   recovery at trial, and potentially greater than such possible recovery—even before

   considering the injunctive relief that guarantee au pairs the information they need.

         H.     The experience, reputation, and abilities of Class Counsel.

         Class Counsel from BSF and Towards Justice consisted of attorneys widely

   respected in the legal community. Towards Justice is a preeminent workers’ rights

   organization. And BSF has successfully tried some of the most high profile, complex

   cases of the last decade. BSF and Towards Justice were able to bring that reputation

   and experience to bear in order to achieve results for the Class. Indeed, the Court has

   6
    Under one of the expert’s alternative models, the settlement exceeds pre-trebled
   damages by $11.5 million (though it remains significantly discounted compared to trebled
   damages). See ECF No. 943-1 (Merits Report of Wm. O. Kerr) ¶ 139.


                                               15
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 21 of
                                      37



   already reviewed Class Counsel’s credentials when it appointed them class counsel, and

   found that they have “extensive experience in handling complex class action suits, are

   knowledgeable about relevant law, and have ample resources to vigorously advocate for

   Plaintiffs.” ECF No. 828 at 34; see also Appendix A.

          I.     Nature and length of the professional relationship with the client.

   Retainer agreements with named plaintiffs expressly state that BSF would seek 35% of

   any recovery in this action as fees, in addition to out-of-pocket costs and expenses

   advanced by BSF. Rodriguez Decl. ¶ 10. See In re Syngenta, 357 F. Supp. 3d at 1114

   (“counsel have indicated that many plaintiffs in this case agreed to contingent-fee

   arrangements that allowed for fees of at least 40 percent of any recovery”). Class

   Counsel has also been transparent with potential class members about the intended fee

   request and additional request for litigation expenses. The settlement notice and

   agreement each disclose those intended requests. Rodriguez Decl. Ex. 1 at 21, Ex 1-A

   at 1, as did Class Counsel’s Preliminary Approval Motion, ECF No. 1189 at 12-13. No

   class members objected to the fee award.

          In addition, substantial awards are justified when, as with the foreign national

   Plaintiffs in this case, “the likelihood that many class members will be seeking additional

   representation from Class Counsel is slim.” Shaw, 2015 WL 1867861, at *7. This is

   particularly true because “wage claims . . . do not lend themselves to continuous” or

   repeat business. Id.

   II.    PLAINTIFFS’ EXPENSES ARE REASONABLE AND WERE NECESSARILY
          INCURRED IN THE PROSECUTION OF THIS ACTION.

          An “attorney who creates or preserves a common fund for the benefit of a class is

   entitled to receive reimbursement of all reasonable costs incurred.” Vaszlavik, 2000 WL



                                               16
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 22 of
                                      37



   1268824, at *4. Class Counsel seeks reimbursement for the $3,345,535.33 in total costs

   and nontaxable expenses in prosecuting this action. F.R.C.P. 54(d). Appendix B

   breaks the total request into categories. Such expenses “are awarded in addition to the

   attorney fee percentage.” Vaszlavik v. Storage Corp., No. 95-B-2525, 2000 WL

   1268824, at *4 (D. Colo. Mar. 9, 2000); see also Barbosa v. Nat’l Beef Packing Co., LLC,

   No. 12-2311, 2015 WL 4920292, at *7 (D. Kan. Aug. 18, 2015).

          As predictable in antitrust and other economically complex litigation, the bulk of

   expenses (over $2 million) come from expert and expert consultant invoices. Appendix

   B at 2; see, e.g. Turner Broad. Sys., Inc. v. F.C.C., 520 U.S. 180, 223 (1997) (“complex

   antitrust litigation” may involve “extensive discovery, significant motions practice,

   appeals, and the payment of high legal fees throughout”). Plaintiffs required expert

   opinions for both class certification, ECF No. 560-65, and the merits, ECF No. 943-1.

   See ECF No. 828 at 21-22 (crediting Plaintiffs’ expert at class certification). Due to

   Defendants’ positions as to the proof required to establish class-wide damages,

   Plaintiff’s expert also had to conduct a survey. See ECF No. 955 (affirming denial of

   motion to exclude Plaintiffs’ expert at class certification, which motion focused

   considerable attention on the survey). Economics experts, who typically employ teams

   to help them in their analysis, are expensive and given the multiple reports, motions, 3

   depositions, the larger number of depositions that Defendants employed, and trial

   preparation, these costs represent an efficient use of experts.

          The other major line-items include FLSA and Rule 23 class notification

   administrator costs ($498,834.23, including $75,000 in anticipated out-of-pocket costs

   associated with administering the settlement), as well as travel (including international




                                                17
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 23 of
                                      37



   travel) for numerous depositions and hearings $143,648.95. 7 As noted above, Class

   Counsel was conscientious about these costs, attending depositions via Skype when

   doing so did not result in a strategic disadvantage, and sending no more than one or two

   attorneys to all but a small handful of the most important proceedings. See, e.g., ECF

   No. 807 at 1-2 (approx.1 hour 40 minute oral argument re Daubert motion; 1 Class

   attorney and 9 defense attorneys appeared; Class Counsel’s position adopted at ECF

   Nos. 813 & 955). All expenses included in Class Counsel’s request are the expenses

   that would be invoiced for hourly clients. Rodriguez Decl. ¶ 2. The requested expenses

   are therefore reasonable and appropriately paid in addition to the fees. Bee v. Greaves,

   910 F.2d 686, 690 (10th Cir. 1990).

          In addition, the original named Plaintiff, Ms. Beltran, received the benefits of in

   forma pauperis initial filing and service by the U.S. Marshals Service. Class Counsel

   believe it is appropriate to repay $536 to the Court for these services. Appendix B.

   III.   A LODESTAR CROSS-CHECK CONFIRMS THE REQUEST IS REASONABLE.

          “Courts using the percentage method will often crosscheck the requested award

   with the lodestar amount.” Shaw, 2015 WL 1867861, at *8. 8 Class Counsel’s requested

   fee award in this action is equal to the lodestar ($11,125,031) with a 2.06 multiplier


   7
     None of these expenses include first or business class airfare—not even for long-haul
   international travel, where business class would ordinarily be permitted by Firm policy.
   Rodriguez Decl. ¶ 12. Class Counsel also followed Firm policy and practices regarding
   specially negotiated hotel rates. Id. ¶ 13.
   8
     However, the Court in the exercise of its discretion and in light of the facts of the case
   may choose to rely entirely on the percentage method. See Uselton v. Commercial
   Lovelace Motor Freight, Inc., 9 F.3d 849, 853 (10th Cir. 1993) (distinguishing “common
   fund” cases where the percentage method is permissible “rather than the lodestar
   method”; approving fee award without considering the lodestar); see also CompSource
   Oklahoma v. BNY Mellon, N.A., No. 08-cv-469, 2012 WL 6864701, at *8 (E.D. Okla. Oct.
   25, 2012) (“A majority of circuits recognize that trial courts . . . are not required to
   conduct a lodestar analysis in common fund” cases).


                                                18
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 24 of
                                      37



   based solely on the common fund. That is conservative: The lodestar rate Class

   Counsel have applied is discounted from the standard rate hourly clients pay. Rodriguez

   Decl. ¶ 2. Courts in this district “typically” use a 2-3x multiplier. Lucas v. Kmart Corp.,

   No. 99–cv–01923–JLK–CBS, 2006 WL 2729260, at *6 (D. Colo. July 27, 2006). And the

   lodestar represents actual billings entered by May 15, 2019—i.e., excluding tens of

   thousands of dollars in fees for securing final approval and distribution of funds.

          Class Counsel’s request compares favorably to similarly sized settlements. For

   example, In the Tennille case discussed in Section I.A, above, the attorneys in a case

   about unclaimed funds received $54,000,000 in fees on a lodestar of $8,076,308 in

   actual billed fees ($9,451,308, after adding an estimate for additional fees after

   judgment)—or a more than 6x lodestar multiplier on actual billings. See Tennille, 2014

   WL 5394624, at *1-2.

          A.     Class Counsel’s hours and rates are reasonable.

          “The best evidence of the value of the lawyer's services is what” a client willingly

   pays. Centennial Archaeology, Inc. v. AECOM, Inc., 688 F.3d 673, 680 (10th Cir. 2012).

   Thus, Courts begin the analysis with the actual rates that attorneys charge in the

   relevant market. Where, as here, the case involves specialized areas of law and

   expending “significant resources and skill,” the “relevant community for purposes of

   determining a reasonable billing rate for Class Counsel likely consists of attorneys who

   litigate nationwide, complex class actions.” Lucas v. Kmart Corp., 99-cv-01923, 2006

   WL 2729260, at *4 (D. Colo. July 27, 2006). 9


   9
     This case is a paradigmatic nationwide—in fact, international—case. Defendants’
   choices confirm that clients paying by the hour find it worthwhile to pay for some of the
   largest and most well respected firms from all over the country—including lawyers from
   New York, California, Boston, and Florida. See ECF Docket (identifying counsel).


                                                 19
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 25 of
                                      37



          Here, Class Counsel logged 15,405.3 attorney hours at a blended rate of $657.50,

   and 4,069 paralegal hours at a blended rate of $244.79. Appendix B. These rates are

   a great value for the Class. They include a significant discount from BSF’s standard

   rates willingly paid by clients. Rodriguez Decl. ¶ 2. Courts all over the country have

   found BSF’s rates reasonable, 10 and Class Counsel respectfully submit that Tenth

   Circuit law and the circumstances of this case warrant the same conclusion.

          B.     The multiplier is reasonable (and, in fact, conservative).

          Even when claimed rates might be higher than rates typically charged by

   attorneys for local matters in the local market—a 2x loadstar multiplier is well within the

   range awarded by courts in this jurisdiction. In re Crocs, 2014 WL 4670886, at *4. 11

   Here, Class Counsel’s requested fee award represents a 2.06 multiplier of actual billings

   to date, at lower-than-standard rates.

                                         CONCLUSION

          For the foregoing reasons, Plaintiffs respectfully request that the Court grant

   $22,925,000 in fees and $3,345,535.33 in expenses for Class Counsel’s efforts.


   10
      E.g., O’Bannon v. NCAA, 114 F. Supp. 3d 819, (N.D. Cal. 2015) (finding BSF attorney
   fees reasonable in antitrust class action, including partner rates of $600-985, associate
   rates of $370-490, and paralegal rates of $300-320), aff’d in part and modified in part by
   2016 WL 1255454 (N.D. Cal. Mar. 31, 2016); In re Polyurethane Foam Antitrust Litig.,
   135 F. Supp. 3d 679, 689-90 (N.D. Ohio 2015) (finding, in antitrust class action, that
   BSF’s “hourly rates are high, but those rates reflect the reputation and ability of their
   firms. The hourly rates are, moreover, Class Counsel’s standard hourly rates, charged
   to paying customers.”); Kosnitzky v. FDIC, 2013 WL 12246258 at *4 (S.D. Fla. June 24,
   2013) (“After careful consideration of, among other things, the attorney’s level of
   experience, and the Boies Schiller law firm’s reputation in the community, the
   undersigned finds that the rate ranges provided are appropriate.”). At least one court
   has approved the undiscounted hourly rates of the two lead lawyers for BSF in this case.
   City of Almaty v. Ablyazov, 15-CV-05345, ECF No. 628 (S.D.N.Y. Apr. 30, 2018).
   11
      See also In re Miniscribe Corp., 309 F.3d 1234, 1245 (10th Cir. 2002) (affirming 2.57
   multiplier); Mishkin v. Zynex, Inc., 2012 WL 4069295, at *2 (D. Colo. Sep. 14, 2012)
   (collecting District of Colorado cases approving multipliers ranging from 2.5% to 4.6%).


                                                20
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 26 of
                                      37



   Dated: May 16, 2019               Respectfully Submitted,


                                            BOIES SCHILLER FLEXNER LLP

                                               /s/ Peter M. Skinner
                                            Matthew L. Schwartz
                                            Peter M. Skinner
                                            Joshua J. Libling
                                            Byron Pacheco
                                            55 Hudson Yards
                                            New York, New York 10001
                                            Tel: (212) 446-2300
                                            Fax: (212) 446-2350
                                            mlschwartz@bsfllp.com
                                            pskinner@bsfllp.com
                                            jlibling@bsfllp.com
                                            bpacheco@bsfllp.com

                                            Sean P. Rodriguez
                                            1999 Harrison Street, Suite 900
                                            Oakland, CA 94612
                                            Tel: (510) 874-1000
                                            Fax: (510) 874-1460
                                            srodriguez@bsfllp.com

                                            TOWARDS JUSTICE
                                            Alexander Hood
                                            1410 High Street, Suite 300
                                            Denver, Colorado 80218
                                            Tel: (720) 239-2606
                                            Fax: (303) 957-2289
                                            alex@towardsjustice.org
                                            Attorneys for Plaintiffs




                                       21
                      Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 27 of
                                                            37
                                                      APPENDIX A: TIMEKEEPERS

          Sources: Rodriguez (BSF) and Hood (TJ) Declarations


Attorneys
Name                 Title 1       Rate 2     Hours        Billings          Description of work & qualifications
DiSalvo, Nina (TJ)   Consultant    $450       38           $17,100.00        Initial investigation and complaint; motion to dismiss
                     (formerly                                               oppositions; strategy.
                     Executive
                     Director)                                               Qualifications reviewed and previously approved as Class
                                                                             Counsel at ECF Nos. 559 at 26-27 & 828 at 17; see also
                                                                             Avendano v. Averus, Inc., 14-cv-01614-CMA, Doc. No. 92 at 10-
                                                                             11 (D. Colo. Sept. 29, 2016).
Esbenshade,          Partner       $810       67.8         $54,918.00        Prepare for and defend au pair depositions
Andrew (BSF)
                                                                             Qualifications available at https://www.bsfllp.com/lawyers/andy-
                                                                             esbenshade.html (last accessed May 10, 2019).
Hammer, Jeffrey      Partner       $750       13.3         $9,975.00         Prepare for and defend au pair depositions
(BSF)
                                                                             Qualifications available at
                                                                             https://www.bsfllp.com/lawyers/jeffrey-hammer.html (last
                                                                             accessed May 10, 2019).
Harris, Laura        Associate     $630       146.7        $92,421.00        Depositions, jury instructions and trial preparation.
(BSF)
                                                                             Qualifications available at https://www.bsfllp.com/lawyers/laura-
                                                                             harris.html (last accessed May 10, 2019).




          1
           For all attorneys, the title listed is the current title or title at the time of separation from the relevant firm.
          2
           All BSF attorney rates are discounted from the attorney’s standard rate charged to paying clients. Rodriguez Decl. ¶ 2.
          Because rates may change annually and with promotions, the BSF rates are blended averages for each attorney’s work
          on the case (total dollars in invoicing system divided by total hours). See id.; Rodriguez Decl. ¶ 6(c).
                                                                                                                                      1
                    Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 28 of
                                                          37
                                                    APPENDIX A: TIMEKEEPERS

         Sources: Rodriguez (BSF) and Hood (TJ) Declarations
Hood, Alexander   Director of  $450      327.8         $147,510.00   Involved in all aspects of case; particular focus on initial
(TJ)              Litigation                                         investigation and complaint; motion to dismiss oppositions; au
                                                                     pair depositions; arbitration appeal; class communications;
                                                                     strategy; settlement and mediation.

                                                                     Qualifications reviewed and previously approved as Class
                                                                     Counsel at ECF Nos. 559 at 26-27 & 828 at 17; see also
                                                                     Avendano v. Averus, Inc., 14-cv-01614-CMA, Doc. No. 92 at 10-
                                                                     11 (D. Colo. Sept. 29, 2016)
Jackson, Randall   Partner      $920      81.8         $75,256.00    Depositions; expert work; court submissions.
(BSF)
                                                                     Qualifications reviewed and previously approved as Class
                                                                     Counsel at ECF Nos. 559 at 26-27 & 828 at 17.
Johnson, Sean      Associate    $380      10.1         $3,838.00     Document review; research in response to motions to dismiss.
(BSF)
                                                                     Mr. Johnson is a graduate of the University of Virginia Law
                                                                     School whose practice focuses on antitrust.
Libling, Joshua    Counsel      $709.27   1,179.5      $836,581.00   Supervision and participation in FLSA certification, class
(BSF)                                                                certification, expert, summary judgment, and jury instruction and
                                                                     trial preparation phases; court appearances; depositions; written
                                                                     discovery and document production; expert work; court
                                                                     submissions.

                                                                     Qualifications reviewed and previously approved as Class
                                                                     Counsel at ECF Nos. 559 at 26-27 & 828 at 17.
Louis, Lauren      Counsel      $595.92   702.1        $418,392.00   Opposing motions to dismiss and moving for FLSA certification;
(BSF)                                                                depositions and document discovery; legal research and
                                                                     drafting re discovery motions.

                                                                     Qualifications reviewed and previously approved as Class
                                                                     Counsel at ECF Nos. 559 at 26-27 & 828 at 17.



                                                                                                                          2
                    Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 29 of
                                                          37
                                                   APPENDIX A: TIMEKEEPERS

        Sources: Rodriguez (BSF) and Hood (TJ) Declarations
McCawley, Sigrid Partner      $760      154.7         $117,572.00     Case investigation and complaint drafting; motion to dismiss
(BSF)                                                                 opposition; discovery strategy and planning.

                                                                      Qualifications available at https://www.bsfllp.com/lawyers/sigrid-
                                                                      s-mccawley.html (last accessed May 10, 2019).
McCawley,          Staff       $340      300.5        $102,170.00     Legal research re regulations, regulatory history, and state
Thomas             Attorney                                           employment laws in connection with motions to dismiss;
(BSF)                                                                 document review.

                                                                      Mr. McCawley is a staff attorney who has been with BSF since
                                                                      March 2008.
Idarraga, Sabria   Partner     $560      246.4        $137,984.00     Written discovery, document productions, and meet and confer
(BSF)                                                                 correspondence; depositions; experts; legal research and
                                                                      drafting re: discovery motions.

                                                                      Qualifications available at
                                                                      https://www.bsfllp.com/lawyers/sabria-a-mcelroy.html (last
                                                                      accessed May 10, 2019).
Pacheco, Byron     Associate   $618.19   2,825.9      $1,746,932.00   Depositions and document discovery; legal research and
(BSF)                                                                 drafting re class certification, experts, discovery motion practice,
                                                                      summary judgment, jury instructions and trial preparation.

                                                                      Qualifications reviewed and previously approved as Class
                                                                      Counsel at ECF Nos. 559 at 26-27 & 828 at 17.
Petterson, Sean    Associate   $500      412.7        $206,350.00     Depositions and document discovery; legal research and
(BSF)                                                                 drafting re discovery motions.

                                                                      Qualifications: Mr. Petterson is an NYU Law School graduate
                                                                      whose practice focuses on class action litigation. Before,
                                                                      during, and after law school Mr. Petterson worked at Boies
                                                                      Schiller Flexner as a paralegal, summer associate, and then
                                                                      associate.


                                                                                                                              3
                     Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 30 of
                                                           37
                                                     APPENDIX A: TIMEKEEPERS

          Sources: Rodriguez (BSF) and Hood (TJ) Declarations
Riley, Joshua      Partner      $771.48 91.6            $70,668.00      Research and drafting in connection with motions to dismiss;
(BSF)                                                                   communications with putative class members.

                                                                        Qualifications available at
                                                                        https://www.bsfllp.com/lawyers/joshua-riley.html (last accessed
                                                                        May 10, 2019).
Rodriguez, Sean     Partner     $765.65    1,449.4      $1,109,732.00   Supervision, strategy, and participation on class certification,
(BSF)                                                                   expert, antitrust issues, summary judgment, jury instruction, trial
                                                                        preparation, and settlement phases; court appearances;
                                                                        depositions; expert work; court submissions; mediation and
                                                                        settlement.

                                                                        Qualifications reviewed and previously approved as Class
                                                                        Counsel at ECF Nos. 559 at 26-27 & 828 at 17.
Schafler, Michael   Partner     $800       57.5         $46,000.00      Prepare for and defend au pair depositions
(BSF)
                                                                        Qualifications available at
                                                                        https://www.bsfllp.com/lawyers/michael-schafler.html (last
                                                                        accessed May 10, 2019).
Schwartz, Daniel    Associate   $450.99    1,354.50     $610,870.00     Depositions and document discovery and review; legal research
(BSF)                                                                   and drafting in connection to motions to dismiss, FLSA
                                                                        certification, and discovery motions.

                                                                        Qualifications reviewed and previously approved as Class
                                                                        Counsel at ECF Nos. 559 at 26-27 & 828 at 17.
Schwartz, Matthew Partner       $960       261.8        $251,328.00     Supervision, strategy, and participation in all aspects and at all
(BSF)                                                                   phases of the case; court appearances; motion practice and
                                                                        argument; depositions; expert work; court submissions;
                                                                        mediation and settlement.

                                                                        Qualifications reviewed and previously approved as Class
                                                                        Counsel at ECF Nos. 559 at 26-27 & 828 at 17.


                                                                                                                                4
                    Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 31 of
                                                          37
                                                    APPENDIX A: TIMEKEEPERS

         Sources: Rodriguez (BSF) and Hood (TJ) Declarations
Schwartz, Tara    Associate    $420      620.2         $260,484.00     Depositions and document discovery; legal research and
(BSF)                                                                  drafting re discovery motions.

                                                                       Ms. Schwartz is a graduate of Columbia law school who is
                                                                       currently clerking for Judge Gerard Lynch of the Second Circuit.
Seligman, David    Director     $450      154          $69,300.00      Litigated appeal re arbitration; strategy surrounding summary
(TJ)                                                                   judgment, appellate work (including class certification appeal
                                                                       petitioners, arbitration appeal, and First Circuit matter); class
                                                                       communications; strategy; settlement and mediation.

                                                                       Qualifications reviewed and previously approved as Class
                                                                       Counsel at ECF Nos. 559 at 26-27 & 828 at 17; see also
                                                                       Avendano v. Averus, Inc., 14-cv-01614-CMA, Doc. No. 92 at 10-
                                                                       11 (D. Colo. Sept. 29, 2016)
Silver, Jonathan   Staff        $340      338.4        $115,056.00     Discovery strategy and plan; written and document discovery
(BSF)              attorney                                            review; legal research and drafting re discovery motions.

                                                                       Mr. Silver is a staff attorney who specializes in electronic
                                                                       discovery.
Skinner, Peter     Partner      $928.98   1,176.3      $1,092,756.00   Supervision, strategy, and participation in all aspects and at all
(BSF)                                                                  phases of the case; court appearances; motion practice and
                                                                       argument; depositions; expert work; court submissions;
                                                                       mediation and settlement.

                                                                       Qualifications reviewed and previously approved as Class
                                                                       Counsel at ECF Nos. 559 at 26-27 & 828 at 17.
Smalls, Dawn       Partner      $900      1,192.1      $1,072,890.00   Supervision, strategy, and participation in all aspects of strategy;
(BSF)                                                                  motion practice and argument; court appearances; depositions;
                                                                       written discovery and document production; expert work; court
                                                                       submissions.

                                                                       Qualifications reviewed and previously approved as Class
                                                                       Counsel at ECF Nos. 559 at 26-27 & 828 at 17.

                                                                                                                               5
                     Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 32 of
                                                           37
                                                   APPENDIX A: TIMEKEEPERS

          Sources: Rodriguez (BSF) and Hood (TJ) Declarations
Valdivieso, Juan   Counsel      $668.81 2,145.10        $1,434,659.00   Depositions and document discovery; court appearances; legal
(BSF)                                                                   research and drafting re class certification, experts, discovery
                                                                        motion practice, summary judgment, jury instructions and trial
                                                                        preparation.

                                                                        Qualifications reviewed and previously approved as Class
                                                                        Counsel at ECF Nos. 559 at 26-27 & 828 at 17.
Vallacher, Bret    Associate    $494.34    57.1        $28,227.00       Depositions and document discovery; discovery vendor
(BSF)                                                                   management.

                                                                        Mr. Vallachar is a graduate of Stanford Law School who clerked
                                                                        for Judge Michael Moore in the Southern District of Florida.


          TOTAL ATTORNEY BILLINGS:             $10,128,969.00




                                                                                                                             6
                     Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 33 of
                                                           37
                                                    APPENDIX A: TIMEKEEPERS

        Sources: Rodriguez (BSF) and Hood (TJ) Declarations


Non-attorney timekeepers
Name           Title                 Rate 3    Hours     Billings       Description of work & qualifications
[Five former   Summer                $389.65   133.1     $51,863.00     Legal research and drafting; deposition preparation.
employees]     associates and
(BSF)          other nonattorney                                        Qualifications reviewed and previously approved as Class
               associate time                                           Counsel at ECF Nos. 559 at 26-27 & 828 at 17.
[Twenty-five   Paralegal, Case       $239.89   3,935.9   $944,199.00    Organize and manage filings, productions, correspondence, and
employees      Manager, or                                              deadlines; assist attorneys with various billable projects at the
and former     Project Assistant 4                                      direction and under the close supervision of attorneys—e.g.,
employees]                                                              specific document review tasks, preparation of exhibits and other
(BSF)                                                                   filings, and managing vendors.



        TOTAL NONATTORNEY BILLINGS:             $996,062.00


        GRAND TOTAL:        $11,125,031.00




        3
          All BSF rates are discounted from the standard rate charged to paying clients. Rodriguez Decl. ¶ 2. The rates provided
        are blended averages. Id. ¶ 6(c).
        4
          Title varies by individual job responsibilities and state regulation of nonattorneys who perform billable work at the
        direction and under the close supervision of attorneys.
                                                                                                                                7
             Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 34 of
                                                   37
                                         APPENDIX B: COSTS AND EXPENSES


Payable to United States Clerk of Court
Category                       Amount        Notes
In forma pauperis filing fee   $400.00       http://www.cod.uscourts.gov/CourtOperations/RulesProcedures/Filing
                                             CivilSuits.aspx
U.S. Marshal’s service (in     $136.00       17 mailed notices (ECF No. 8) at $8 per mailing, 28 CFR
forma pauperis)                              § 0.114(a)(2)
                                             TOTAL PAYABLE TO UNITED STATES CLERK OF COURT: $536.00


Payable to Towards Justice
Source: Hood Declaration ¶ 27.
Category                       Amount         Notes
Printing/Copying               $785.04
Legal Research                 $480.00
(Lexis/Westlaw)
Client Communication           $21,030.18
/Investigation
Meeting Expenses               $103.78
                                                         TOTAL PAYABLE TO TOWARDS JUSTICE: $22,399.00




                                                                                                                  1
             Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 35 of
                                                   37
                                         APPENDIX B: COSTS AND EXPENSES


Payable to Boies Schiller Flexner
Sources: Rodriguez Declaration (throughout); Keough Declaration (where noted)
Category 1                   Amount             Notes
Court costs: Court           $192,410.76        Includes $14,444.39 that will become due and payable to vendors at
reporters and transcripts                       the end of the case. Rodriguez Decl. ¶ 8(c).
Court costs: Filing fees     $2,631.00
Court costs: Process         $1,776.50
servers
Court costs: Witness,        $1,896.87
admission, and misc.
other fees
Deposition conference        $5,491.29
room expenses
Document reproduction        $31,974.77
Invoices paid to experts     $2,161,564.34      Includes all fees and expenses billed by experts and expert
and expert consultants                          consultants, including for three depositions, class certification and
                                                merits reports, and assistance in litigation Defendants’ Daubert
                                                motion (including Defendants’ appeal of Magistrate decision and
                                                Defendants’ motion to reconsider this Court’s order affirming that
                                                decision).
Legal research expenses      $240,780.01        Computer research and case-specific book purchases.
Miscellaneous case-          $1,787.78
specific purchases and
expenses
Overtime and after-hours     $25,208.47         Includes local transportation where permitted by BSF policy (e.g., for
meals and local                                 safety purposes when staff or attorneys work late).
transportation
Post, messenger, and         $4,050.18

1
  All BSF cost categories and numbers, except those marked as “[Estimate]”, are actual totals from the Firm’s billing and
invoice system. These costs have been handled consistent with BSF billing practices for paying clients, and would
ordinarily be invoiced to paying clients. Rodriguez Decl. ¶¶ 3-4 & 7.
                                                                                                                            2
            Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 36 of
                                                  37
                                     APPENDIX B: COSTS AND EXPENSES


courier services
Telephone                  $4,536.18      Includes international long-distance expenses
Travel expenses            $143,648.95    Includes airfare, lodging, meal, and miscellaneous incidentals that
                                          directly enabled case work where permitted by BSF policy (e.g., in-
                                          flight wireless internet connectivity). Includes no business or first
                                          class airfare, not even for long-haul international travel where Firm
                                          policy would ordinarily permit business class. Hotel expenses
                                          followed BSF policy regarding specially negotiated rates. Rodriguez
                                          Decl. ¶¶ 12-13.
Class notice and           $423,843.23    $356,843.23 from current class administrator. Keough Decl. ¶ 31.
administration expenses
incurred to date                          Remainder from previous vendor. Due to issues with the previous
                                          vendor’s services, BSF obtained a very significant refund from that
                                          vendor. The amount requested has been reduced by the amount of
                                          that refund. In addition and in an abundance of caution, BSF has
                                          further written down the amount paid to that vendor. See Rodriguez
                                          Decl. ¶ 8(b).
[Estimated] Class          $75,000        Keough Decl. ¶ 30.
administrator expenses for
May 2019 through end of
engagement
[Estimated] Travel and     $6,000
reproduction expenses for
final approval hearing
                                           TOTAL PAYABLE TO BOIES SCHILLER FLEXNER: $3,322,600.33




GRAND TOTAL:              $3,345,535.33



                                                                                                                  3
Case 1:14-cv-03074-CMA-KMT Document 1206 Filed 05/16/19 USDC Colorado Page 37 of
                                      37



                                    Certificate of Service

         I hereby certify that on May 16, 2019, I electronically filed the foregoing with the

   Clerk of Court using the CM/ECF system which will send notification of such filing to all

   counsel of record.



                                                     /s/ Peter M. Skinner
                                                    Peter M. Skinner
